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                            UNITED STATES DISTRICT COURT
                        DISTRICT OF IDAHO (NORTHERN DIVISION)

CODY J. SCHUELER, an individual,

                       Plaintiff,               Case No. 2:22-cv-00389-DCN

     v.
                                                 [PROPOSED] ORDER GRANTING
FOUR SQUAREBIZ, LLC, a Wyoming                   PLAINTIFF’S MOTION FOR
limited liability company, KEITH O.              ATTORNEYS’ FEES AND COSTS
CREWS, an individual and the associated
marital community, MICAH EIGLER, an
individual and the associated marital
community, and JOHN AND JANE DOES
1-10,

                       Defendants.


     THIS MATTER came before the Court pursuant to Plaintiff Cody J. Schueler’s Motion

for Attorneys’ Fees and Costs against Defendants Four SquareBiz, LLC (“Four SquareBiz”)

and Keith O. Crews, individually and the associated marital community comprised thereof

(“Defendant Crews”). Plaintiff is represented by Andrew M. Wagley and Samir Dizdarevic-

Miller of Etter, McMahon, Lamberson, Van Wert & Oreskovich, P.C. This Motion is made

pursuant to Federal Rule of Civil Procedure 54(d), District of Idaho Local Rule 54.2, and is

supported by the accompanying Memorandum of Law, including the authorities therein.

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      The Court has reviewed Plaintiff’s Motion for Attorneys’ Fees and Costs, Memorandum

in Support of Plaintiff’s Motion for Attorneys’ Fees and Costs, Declaration of Andrew M.

Wagley, and the Declaration of Richard T. Wetmore, as well as other pertinent portions of the

Court File herein. As such, the Court is fully informed to rule as indicated herein.

                                       FINDINGS OF FACT

      Based upon the argument and briefing presented, as well as other documents contained

within the Court File, the Court hereby makes the following Findings of Fact:

      (1)      This is a commercial lawsuit stemming from the breach of three Bitcoin Loan

               Agreements executed by Defendants, along with accompanying Personal

               Guarantees. (See ECF No. 1.)

      (2)      Pursuant to the Complaint, Plaintiff prayed for relief in the form of “Attorneys’

               fees and costs of suit, as allowed by the terms of the Agreements, I.C. § 12-

               120(3), and other applicable laws.” (ECF No. 1 at 18.)

      (3)      The Agreements that govern this dispute allow for an award of attorneys’ fees

               and costs to the prevailing party. The Bitcoin Loan Agreements provide: “If

               either party commences legal proceedings to interpret or enforce the terms of

               this Agreement, the prevailing Party will be entitled to recover court costs and

               reasonable attorney fees.”     (ECF No. 1-2 at 5, 23, and 35.)          In turn, the

               Guarantees provide: “If Lender is required to enforce Guarantor’s obligations by

               legal proceedings, Guarantor shall pay to Lender all costs incurred, including,

               without limitation, reasonable attorneys’ fees.” (Id. at 9, 27, and 39.)




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   (4)      On September 5, 2023, the Court granted Default Judgment in favor of Plaintiff

            and against Defendants “in the amount of $1,199,809.31, comprising

            $938,967.55 in principal and $260,841.76 in interest.” (ECF No. 37.)

   (5)      The accompanying Findings of Fact, Conclusions of Law, and Order Granting

            Default Judgment indicates: “The Agreements at issue allow the recovery of

            attorneys’ fees and costs by the prevailing party. For the reasons just stated, Mr.

            Schueler is the prevailing party.” (ECF No. 36 at 6.) As such, the Order

            indicates: “As Mr. Schueler is entitled to costs and attorneys’ fees in obtaining

            this Default Judgment, he may submit a Motion for Attorneys’ Fees and Costs

            under District of Idaho Local Civil Rule 54.2(b) within fourteen days of the

            entry of judgment.” (ECF No. 36 at 10.)

   (6)      This was not a run of the mill commercial litigation matter and default

            judgment. Rather, this litigation involved multiple substantive claims / causes

            of action (including fraud and civil conspiracy) stemming from a commercial

            transaction.

   (7)      Plaintiff seeks recovery of $17,184.50 in reasonable attorneys’ fees and $940.52

            in costs pursuant to the Agreements at issue and I.C. § 12-120(3). As indicated

            above, Plaintiff is the prevailing party in this litigation.

   (8)      Plaintiff’s Counsel in this matter charged $275 per hour for Partner Andrew M.

            Wagley and $210 per hour for Associate Samir Dizdarevic-Miller. The hourly

            rates for attorney services charged by Plaintiff’s counsel are reasonable in the

            District of Idaho, Northern Division.


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     (9)      Plaintiff seeks recovery of 58.9 hours incurred by Mr. Wagley and 4.7 hours

              incurred by Mr. Dizdarevic-Miller. These hours take into account the necessary

              research and analysis to draft the Complaint, place the Defendants in Default,

              obtain the Default Judgment, and bring Plaintiff’s Motion for Attorneys’ Fees.

     (10)     These hours do not include legal work done solely in relation to Defendant

              Micah Eigler—who was not included in the Default Judgment—and excludes

              hours that were voluntarily reduced in the itemization based upon Counsel’s

              professional judgment.

     (11)     The total hours of attorneys’ fees sought by Plaintiff is reasonable, particularly

              when compared to the nearly $1,200,000 Default Judgment obtained.

     (12)     Plaintiff also seeks $940.52 in recoverable litigation costs pursuant to the

              Agreements at issue.        These costs are those above and beyond what is

              recoverable in Plaintiff’s accompanying Cost Bill. The Court hereby finds that

              these costs are reasonable and recoverable.

     (13)



                                                                                            .

                                      CONCLUSIONS OF LAW

     Based upon the foregoing Findings of Fact, the Court hereby enters the following

Conclusions of Law:

     (1)      Plaintiff is entitled to reasonable attorneys’ fees and costs as the prevailing party

              pursuant to the Agreements at issue herein.


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   (2)      Plaintiff is similarly entitled to attorneys’ fees pursuant to I.C. § 12-120(3) as

            the prevailing party in this litigation. The “gravamen” of this lawsuit is a

            commercial transaction, to wit, the Agreements at issue.

   (3)      The Court will use the “lodestar” approach to determine the fee amount. The

            lodestar amount is calculated by multiplying the number of hours reasonably

            expended on the litigation by a reasonably hourly rate.

   (4)      As indicated above, the Court concludes that the rates charged by Plaintiff’s

            Counsel are reasonable based upon multiple factors, including the experience,

            skill and reputation of the attorney requesting fees, in addition to the market rate

            in the District of Idaho, Northern Division.

   (5)      As indicated above, the Court further determines that 63.6 hours were

            reasonably incurred in this litigation.

   (6)      As such, the recoverable amounts of attorneys’ fees pursuant to the Agreements

            is as follows:

              Individual             Hours Sought       Hourly Rate               Total

      Andrew M. Wagley                    58.9              $275                    $16,197.50

      Samir Dizdarevic-Miller              4.7              $210                       $987.00

                                                       Grand Total                  $17,184.50


   (7)      In addition to reasonable attorneys’ fees, Plaintiff also seeks $940.52 in

            recoverable litigation costs. This includes $185.64 in private process server

            fees, $74.30 in printing / copying costs, $80.58 in mailing expenses, and $600 in



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              expert fees for the opinion of Richard T. Wetmore regarding reasonable

              commercial litigation rates in Norther Idaho. These costs are reasonable and

              recoverable pursuant to the Agreements at issue.

     (8)



                                                                                        .

                        ORDER GRANTING DEFAULT JUDGMENT

     Based upon the foregoing Findings of Fact and Conclusions of Law, it is hereby

ORDERED, ADJUDGED, AND DECREED as follows:

     (1)      Plaintiff’s Motion for Attorneys’ Fees and Costs is GRANTED.

     (2)      The Court hereby AWARDS ATTORNEYS’ FEES AND COSTS in favor of

              Plaintiff, Cody J. Schueler, and against Defendants Four SquareBiz, LLC and

              Keith O. Crews (an individual and his associated marital community), jointly

              and severally, in the amount of $18,125.02, comprised of $17,184.50 in

              reasonable attorneys’ fees and $940.52 in costs.

     (3)      Plaintiff’s recoverable attorneys’ fees and costs SHALL BE ADDED to the

              Judgment previously entered in this matter.

     (4)      Interest SHALL ACCRUE on the recoverable attorneys’ fees and costs at the

              rate of twelve percent (12%) simple interest per annum as of the date below.

     (5)



                                                                                        .


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      It is so ORDERED this            day of September, 2023.




                                             HONORABLE DAVID C. NYE
                                             UNITED STATES DISTRICT COURT JUDGE
                                             DISTRICT OF IDAHO

Presented By:

ETTER, McMAHON, LAMBERSON,
 VAN WERT & ORESKOVICH, P.C.


By: /s/ Andrew M. Wagley
  Andrew M. Wagley, ISB #10277
  Samir Dizdarevic-Miller, ISB #11471
  Attorneys for Plaintiff Cody J. Schueler




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